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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

 UNITED STATES OF AMERICA,
                                                 Case No. 3:19-cr-42
                  Plaintiff,
                                                 UNITED STATES’ SENTENCING
                  v.                             MEMORANDUM

 SIJIE LIU,

                  Defendant.

       The United States of America, by Drew H. Wrigley, United States Attorney for the

District of North Dakota, and Nicholas W. Chase, First Assistant United States Attorney,

has no objections or corrections to the Presentence Investigation Report in this case.

       Dated: June 22, 2020

                                          DREW H. WRIGLEY
                                          United States Attorney



                                   By:    ______________________________
                                          /s/ Nicholas W. Chase
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